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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRIGNIA
                                   Alexandria Division

CHAILE STEINBERG, Individually and On               )
Behalf of All Others Similarly Situated,            )
                                                    )
                       Plaintiff,                   )   Case No. ______________
                                                    )
       v.                                           )   JURY TRIAL DEMANDED
                                                    )
CEB INC., THOMAS L. MONAHAN, III,                   )   CLASS ACTION
GREGOR S. BAILAR,                                   )
STEPHEN M. CARTER, GORDON J.                        )
COBURN, KATHLEEN A. CORBET, L.                      )
KEVIN COX, DANIEL O. LEEMON,                        )
STACEY S. RAUCH, JEFFREY R. TARR,                   )
GARTNER, INC., and COBRA                            )
ACQUISITION CORP.,                                  )
                                                    )
                       Defendants.


   COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT OF 1934

       Plaintiff, by her undersigned attorneys, for this complaint against defendants, alleges

upon personal knowledge with respect to herself, and upon information and belief based upon,

inter alia, the investigation of counsel as to all other allegations herein, as follows:

                                    NATURE OF THE ACTION

       1.      This action stems from a proposed transaction announced on January 5, 2017 (the

“Proposed Transaction”), pursuant to which CEB Inc. (“CEB” or the “Company”) will be

acquired by Gartner, Inc. (“Parent”) and Cobra Acquisition Corp. (“Merger Sub,” and together

with Parent, “Gartner”).

       2.      On January 5, 2017, CEB’s Board of Directors (the “Board” or “Individual

Defendants”) caused the Company to enter into an agreement and plan of merger (the “Merger

Agreement”). Pursuant to the terms of the Merger Agreement, shareholders of CEB will receive
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$54.00 in cash and 0.2284 shares of Gartner common stock for each share of CEB common

stock. Following the close of the Proposed Transaction, CEB stockholders will only own 9% of

the combined company.

       3.      On February 6, 2017, defendants filed a Form S-4 Registration Statement (the

“Registration Statement”) with the United States Securities and Exchange Commission (“SEC”)

in connection with the Proposed Transaction.

       4.      The Registration Statement omits material information with respect to the

Proposed Transaction, which renders the Registration Statement false and misleading.

Accordingly, plaintiff alleges herein that defendants violated Sections 14(a) and 20(a) of the

Securities Exchange Act of 1934 (the “1934 Act”) in connection with the Registration Statement.

                                 JURISDICTION AND VENUE

       5.      This Court has jurisdiction over the claims asserted herein pursuant to Section 27

of the 1934 Act because the claims asserted herein arise under Sections 14(a) and 20(a) of the

1934 Act and Rule 14a-9.

       6.      This Court has jurisdiction over defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

       7.      Venue is proper under 28 U.S.C. § 1391(b) because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.

                                             PARTIES

       8.      Plaintiff is, and has been continuously throughout all times relevant hereto, the

owner of CEB common stock.




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       9.     Defendant CEB is a Delaware corporation and maintains its principal executive

office at 1919 North Lynn Street, Arlington, Virginia 22209. CEB’s common stock is traded on

the NYSE under the ticker symbol “CEB.”

       10.    Defendant Thomas L. Monahan, III (“Monahan”) is a director, Chairman of the

Board, and Chief Executive Officer (“CEO”) of CEB.

       11.    Defendant Gregor S. Bailar (“Bailar”) is a director of CEB. According to the

Company’s website, Bailar is Chair of the Audit Committee.

       12.    Defendant Stephen M. Carter (“Carter”) is a director of CEB. According to the

Company’s website, Carter is a member of the Audit Committee and Chair of the Compensation

Committee.

       13.    Defendant Gordon J. Coburn (“Coburn”) is a director of CEB. According to the

Company’s website, Coburn is a member of the Audit Committee and Chair of the Nominating

and Corporate Governance Committee.

       14.    Defendant Kathleen A. Corbet (“Corbet”) is a director of CEB. According to the

Company’s website, Corbet is a member of the Audit Committee.

       15.    Defendant L. Kevin Cox (“Cox”) is a director of CEB.        According to the

Company’s website, Cox is a member of the Compensation Committee and a member of the

Nominating and Corporate Governance Committee.

       16.    Defendant Daniel O. Leemon (“Leemon”) is a director of CEB. According to the

Company’s website, Leemon is a member of the Compensation Committee and a member of the

Nominating and Corporate Governance Committee.

       17.    Defendant Stacey S. Rauch (“Rauch”) is a director of CEB. According to the

Company’s website, Rauch is a member of the Audit Committee.




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       18.     Defendant Jeffrey R. Tarr (“Tarr”) is a director of CEB.            According to the

Company’s website, Tarr is a member of the Audit Committee.

       19.     The defendants identified in paragraphs 10 through 18 are collectively referred to

herein as the “Individual Defendants.”

       20.     Defendant Parent is a Delaware corporation and a party to the Merger Agreement.

       21.     Defendant Merger Sub is a Delaware corporation, a wholly-owned subsidiary of

Parent, and a party to the Merger Agreement.

                               CLASS ACTION ALLEGATIONS

       22.     Plaintiff brings this action as a class action on behalf of herself and the other

public stockholders of CEB (the “Class”). Excluded from the Class are defendants herein and

any person, firm, trust, corporation, or other entity related to or affiliated with any defendant.

       23.     This action is properly maintainable as a class action.

       24.     The Class is so numerous that joinder of all members is impracticable. As of

October 28, 2016, there were approximately 32,228,207 shares of CEB common stock

outstanding, held by hundreds, if not thousands, of individuals and entities scattered throughout

the country.

       25.     Questions of law and fact are common to the Class, including, among others: (i)

whether defendants violated the 1934 Act; and (ii) whether defendants will irreparably harm

plaintiff and the other members of the Class if defendants’ conduct complained of herein

continues.

       26.     Plaintiff is committed to prosecuting this action and has retained competent

counsel experienced in litigation of this nature. Plaintiff’s claims are typical of the claims of the

other members of the Class and plaintiff has the same interests as the other members of the




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Class. Accordingly, plaintiff is an adequate representative of the Class and will fairly and

adequately protect the interests of the Class.

        27.     The prosecution of separate actions by individual members of the Class would

create the risk of inconsistent or varying adjudications that would establish incompatible

standards of conduct for defendants, or adjudications that would, as a practical matter, be

dispositive of the interests of individual members of the Class who are not parties to the

adjudications or would substantially impair or impede those non-party Class members’ ability to

protect their interests.

        28.     Defendants have acted, or refused to act, on grounds generally applicable to the

Class as a whole, and are causing injury to the entire Class. Therefore, final injunctive relief on

behalf of the Class is appropriate.

                               SUBSTANTIVE ALLEGATIONS

Background of the Company

        29.     CEB is a best practice insight and technology company. In partnership with

leading organizations around the world, the Company develops innovative solutions to drive

corporate performance.

        30.     CEB equips leaders at more than 10,000 companies with the intelligence to

effectively manage talent, customers, and operations.

        31.     The Company is a trusted partner to nearly 90% of the Fortune 500 and FTSE

100, 80% of the JSE, and more than 70% of the Dow Jones Asian Titans.

        32.     On July 26, 2016, CEB issued a press release wherein it reported its financial

results for the second quarter ended June 30, 2016. The Company reported revenue of $242.6

million, an increase of 4.6%; adjusted revenue of $251.1 million, an increase of 7.9%; and




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adjusted EBITDA of $64.5 million, an increase of 6.9%.

       33.     CEB also reported that it completed its acquisition of Evanta Ventures, Inc. and

an affiliated business (collectively, “Evanta”).       Portland, Oregon-based Evanta fosters

collaboration and the exchange of best practices between Information Technology & Security,

Human Resources, and Finance leaders through nearly 200 annual events, online and offline

learning platforms, and subscription information offerings.

       34.     With respect to the results, Individual Defendant Monahan, CEB’s Chairman and

CEO, commented:

       Our focus in the second quarter remained squarely on delivering great customer
       impact and setting up for stronger outcomes in the second half and beyond.
       Current events in the economy and society create an unusual opportunity for us to
       help our clients and members, and we are working hard to deliver impact[.] You
       can see the result in this quarter: organic bookings growth improved modestly to
       the low single-digits, our CEB Events group came out of the gates quickly
       following the Evanta acquisition, and we delivered solid results in quarterly
       revenue and Adjusted EBITDA. We enter the third quarter with a great team on
       the field and our eyes on sharp execution amid the continued volatility of the
       current environment.

       35.     On October 25, 2016, CEB issued a press release wherein it reported its financial

results for the quarter ended September 30, 2016. The Company reported that, for its CEB

Segment, for the nine months ended September 30, 2016, adjusted revenue increased 4.6%

compared to the nine months ended September 30, 2015. Additionally, for the Company’s CEB

Talent Assessment Segment, for the three months ended September 30, 2016, adjusted EBITDA

increased 24.7% compared to the three months ended September 30, 2015.

       36.     With respect to the results, Individual Defendant Monahan commented:

       We continue to see strength in our efforts to launch new talent management
       products, drive global growth, expand our footprint in the middle market, and
       rapidly integrate and scale the Evanta platform. We also see very promising
       momentum in our newly integrated account management structures in Sales and
       Service and Talent Management. Our key area of focus is now sustaining our



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       highest levels of operational intensity throughout Q4, particularly in North
       America large corporate, and delivering strong performance and profitability in
       2017.

The Preclusive Merger Agreement

       37.       On January 5, 2017, the Individual Defendants caused the Company to enter into

the Merger Agreement, pursuant to which the Company will be acquired for inadequate

consideration.

       38.       Despite a limited and inadequate “go shop” period, the Individual Defendants

have all but ensured that another entity will not emerge with a competing proposal by agreeing to

a “no solicitation” provision in the Merger Agreement that prohibits the Individual Defendants

from soliciting alternative proposals and severely constrains their ability to communicate and

negotiate with potential buyers who wish to submit or have submitted unsolicited alternative

proposals. Section 5.03(a) of the Merger Agreement states, in relevant part:

       (a) After the end of the Transaction Solicitation Period, except, in each case, with
       respect to an Excluded Party, the Company shall not, nor shall it authorize or
       instruct any of its Subsidiaries or any of its and their respective directors, officers
       or employees or any of their respective investment bankers, accountants, attorneys
       or other advisors, agents or representatives (collectively, “Representatives”) to,
       (i) directly or indirectly solicit or initiate, or knowingly encourage, induce or
       facilitate any Takeover Proposal or any inquiry or proposal that may reasonably
       be expected to lead to a Takeover Proposal or (ii) directly or indirectly participate
       in any discussions or negotiations with any Person regarding, or knowingly
       furnish to any Person any non-public or confidential information with respect to
       any Takeover Proposal or any inquiry or proposal that may reasonably be
       expected to lead to a Takeover Proposal. The Company shall, and shall cause its
       Subsidiaries and its and their respective Representatives to, except, in each case,
       with respect to an Excluded Party, immediately cease and cause to be terminated
       all existing discussions or negotiations with any Person conducted heretofore with
       respect to any Takeover Proposal, or any inquiry or proposal that may reasonably
       be expected to lead to a Takeover Proposal, request the prompt return or
       destruction of all confidential information previously furnished and immediately
       terminate all physical and electronic data room access previously granted to any
       such Person or its Representatives.




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        39.     Further, the Company must promptly advise Gartner of any proposals or inquiries

received from other parties. Section 5.03(c) of the Merger Agreement states:

        (c) In addition to the obligations of the Company set forth in paragraphs (a) and
        (b) of this Section 5.03, following the end of the Transaction Solicitation Period
        the Company shall promptly, and in any event within 48 hours of the receipt
        thereof, advise Parent in writing of any Takeover Proposal, the material terms and
        conditions of any such Takeover Proposal (including any changes thereto) and the
        identity of the person making any such Takeover Proposal. The Company shall
        (x) keep Parent informed in all material respects and on a reasonably current basis
        of the status and details (including any change to the terms thereof) of any
        Takeover Proposal, and (y) provide to Parent as soon as practicable after receipt
        or delivery thereof copies of all correspondence and other written material
        exchanged between the Company or any of the Company Subsidiaries and any
        Person that describes any of the terms or conditions of any Takeover Proposal.

        40.     Moreover, the Merger Agreement contains a highly restrictive “fiduciary out”

provision permitting the Board to withdraw its approval of the Proposed Transaction under

extremely limited circumstances, and grants Gartner a “matching right” with respect to any

“Superior Proposal” made to the Company. Section 5.03(b) of the Merger Agreement provides,

in relevant part:

        (b) Except as set forth below, neither the Company Board nor any committee
        thereof shall (i) (A) withdraw (or modify in any manner adverse to Parent), or
        propose publicly to withdraw (or modify in any manner adverse to Parent), the
        approval, recommendation or declaration of advisability by the Company Board
        or any committee thereof with respect to this Agreement or (B) approve,
        recommend or declare advisable, or propose publicly to approve, recommend or
        declare advisable, any Takeover Proposal (any action in this clause (i) being
        referred to as an “Adverse Recommendation Change”) or (ii) approve,
        recommend or declare advisable, or propose publicly to approve, recommend or
        declare advisable, or allow the Company or any of its Subsidiaries to execute or
        enter into, any Alternative Acquisition Agreement. Notwithstanding the
        foregoing, at any time prior to obtaining the Company Stockholder Approval:

        (ii) if the Company has received a bona fide written Takeover Proposal that the
        Company Board has concluded in good faith (after consultation with the
        Company’s outside counsel and financial advisor) is a Superior Proposal, then the
        Company Board may (A) effect an Adverse Recommendation Change with
        respect to such Superior Proposal or (B) authorize the Company to terminate this
        Agreement pursuant to Section 8.01(f) to enter into an Alternative Acquisition



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       Agreement with respect to such Superior Proposal, in each case if and only if:

       (A) the Company Board determines in good faith (after consultation with the
       Company’s outside counsel and financial advisor) that the failure to do so would
       be inconsistent with its fiduciary duties pursuant to applicable Law;

       (B) the Company has complied with its obligations in all material respects
       pursuant to this Section 5.03 with respect to such Takeover Proposal; and

       C) (i) the Company has provided prior written notice to Parent at least three
       (3) Business Days in advance (the “Notice Period”) to the effect that the
       Company Board has (A) received a bona fide written Takeover Proposal that has
       not been withdrawn; (B) concluded in good faith that such Takeover Proposal
       constitutes a Superior Proposal; and (C) resolved to effect an Adverse
       Recommendation Change or to terminate this Agreement pursuant to this
       Section 5.03, which notice will describe the basis for such Adverse
       Recommendation Change or termination, including the identity of the Person or
       “group” of Persons making such Takeover Proposal, the material terms of such
       Takeover Proposal and copies of all relevant documents relating to such Takeover
       Proposal; and (ii) prior to effecting such Adverse Recommendation Change or
       termination, the Company and its Representatives, during the Notice Period, have
       negotiated with Parent and its Representatives in good faith (to the extent that
       Parent has requested to so negotiate) to make such adjustments to the terms and
       conditions of this Agreement so that such Takeover Proposal would cease to
       constitute a Superior Proposal; it being understood that (a) in the event of any
       material revisions to such Takeover Proposal, the Company will be required to
       deliver a new written notice to Parent and to comply with the requirements of this
       Section 5.03 with respect to such new written notice, except that with respect to a
       Takeover Proposal made by an Excluded Party, references to three (3) Business
       Days in this Section 5.03(b) shall be deemed to be two (2) Business Days from
       and after the second time such a notice is given and (b) the Company Board, at
       the end of the Notice Period (after consultation with the Company’s outside
       counsel and financial advisor), must have in good faith reaffirmed its
       determination that such bona fide written Takeover Proposal is a Superior
       Proposal.

       41.    Further locking up control of the Company in favor of Gartner, the Merger

Agreement provides for a “termination fee” of up to $99 million, payable by the Company to

Gartner if the Individual Defendants cause the Company to terminate the Merger Agreement.

       42.    By agreeing to all of the deal protection devices, the Individual Defendants have

locked up the Proposed Transaction and have precluded other bidders from making successful




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competing offers for the Company.

Inadequate Merger Consideration and Interests of the Company’s Officers and Directors

       43.     The consideration to be paid to plaintiff and the Class in the Proposed Transaction

is inadequate. Based on the closing price of Gartner common stock on January 3, 2017, the

merger consideration is valued at $76.81 per share.

       44.     The intrinsic value of the Company is materially in excess of the amount offered

in the Proposed Transaction.

       45.     Additionally, the financial analyses performed by the Company’s own financial

advisor, Centerview Partners LLC (“Centerview”), confirm the inadequacy of the merger

consideration. For example, Centerview’s Discounted Cash Flow Analysis yielded implied

values per share of CEB common stock as high as $86.65.

       46.     Accordingly, the Proposed Transaction will deny Class members their right to

share proportionately and equitably in the true value of the Company’s valuable and profitable

business, and future growth in profits and earnings.

       47.     Meanwhile, certain of the Company’s officers and directors stand to receive

substantial benefits as a result of the Proposed Transaction.

       48.     For example, as a result of the Proposed Transaction, Individual Defendant

Monahan stands to receive $4,709,195, and the Company’s four other named executive officers

stand to receive $12,349,502.

       49.     Additionally, Gartner “may enter into definitive agreements regarding

employment or retention for certain of CEB’s employees,” and “Gartner has agreed to assume

employment, change in control or severance agreements with CEB’s current executive officers.”




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The Registration Statement Omits Material Information, Rendering It False and Misleading

        50.     Defendants filed the Registration Statement with the SEC in connection with the

Proposed Transaction.

        51.     The Registration Statement omits material information with respect to the

Proposed Transaction, which renders the Registration Statement false and misleading.

        52.     First, the Registration Statement omits material information regarding the

Company’s financial projections, Gartner’s financial projections, and the financial analyses

performed by Centerview in support of its so-called fairness opinion.

        53.     When a banker’s endorsement of the fairness of a transaction is touted to

shareholders, the valuation methods used to arrive at that opinion as well as the key inputs and

range of ultimate values generated by those analyses must also be fairly disclosed. Moreover,

the disclosure of projected financial information is material because it provides stockholders with

a basis to project the future financial performance of a company, and allows stockholders to

better understand the financial analyses performed by the company’s financial advisor in support

of its fairness opinion.

        54.     With respect to CEB’s financial projections, the Registration Statement fails to

disclose: (i) the definition of unlevered free cash flow and all constituent line items used in the

calculation of unlevered free cash flow; (ii) stock-based compensation expense; (iii) interest; (iv)

taxes; (v) depreciation and amortization; (vi) net non-operating foreign currency gain (loss); (vii)

debt modification costs; (viii) CEO non-competition obligation; (ix) gain (loss) on other

investments; (x) equity method investment gain (loss); (xi) restructuring costs; (xii) impairment

costs; (xiii) gain on cost method investment; (xiv) business transformation cost; (xv)

restructuring; (xvi) acquisition and integration related costs; (xvii) goodwill impairment loss;




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(xviii) the impact of Deferred Revenue fair value adjustment; (xix) a reconciliation of all non-

GAAP to GAAP metrics; (xx) the historical growth case; and (xxi) the recent growth case.

       55.     With respect to Centerview’s Discounted Cash Flow Analysis for CEB, the

Registration Statement fails to disclose: (i) the inputs and assumptions used to determine the

discount rate range of 9.50% to 13.50%; and (ii) the range of estimated terminal values of CEB.

       56.     With respect to Centerview’s Discounted Cash Flow Analysis for Gartner, the

Registration Statement fails to disclose: (i) the definition of unlevered free cash flow and all

constituent line items used in the calculation of unlevered free cash flow; (ii) the range of

estimated terminal values of Gartner; and (iii) the inputs and assumptions used to determine the

discount rate range of 7.50% to 10.50%.

       57.     The Registration Statement also fails to disclose the CEB-Prepared Gartner

Forecasts and Gartner’s own internal financial projections, which are particularly material here,

as a significant portion of the merger consideration is Gartner stock.

       58.     The omission of this material information renders the Registration Statement false

and misleading, including, inter alia, the following sections of the Registration Statement: (i)

“Background of the Merger”; (ii) “CEB’s Reasons for the Merger and Recommendation of the

CEB Board of Directors”; (iii) “Opinion of Centerview Partners LLC”; and (iv) “CEB Certain

Unaudited Financial Forecasts.”

       59.     Second, the Registration Statement omits material information regarding Allen &

Company LLC (“Allen”), CEB’s second financial advisor in connection with the Proposed

Transaction.

       60.     Specifically, the Registration Statement fails to disclose any information

regarding Allen’s engagement, including the fee to be received by Allen, the percentage of the




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fee that is contingent upon consummation of the Proposed Transaction, and the services Allen

has provided to CEB, Gartner, and/or their affiliates in the past two years and the amount of

compensation received for such services.

       61.     Full disclosure of investment banker compensation and all potential conflicts is

required due to the central role played by investment banks in the evaluation, exploration,

selection, and implementation of strategic alternatives.

       62.     The omission of this material information renders the Registration Statement false

and misleading, including, inter alia, the following sections of the Registration Statement: (i)

“Background of the Merger”; and (ii) “CEB’s Reasons for the Merger and Recommendation of

the CEB Board of Directors.”

       63.     Third, the Registration Statement omits material information regarding the

background of the Proposed Transaction.        The Company’s stockholders are entitled to an

accurate description of the “process” the directors used in coming to their decision to support the

Proposed Transaction.

       64.     For example, the Registration Statement fails to disclose which “certain CEB

employees” Gartner proposed to enter into employment agreements with as a “closing condition”

in Gartner’s December 16, 2016 draft merger agreement.

       65.     The Registration Statement fails to disclose the timing and nature of any

communications regarding future employment and/or directorship of CEB’s officers and

directors, including who participated in all such communications.

       66.     The Registration Statement fails to disclose the nature of the “inquiries from

several private equity firms about CEB’s potential interest in a strategic transaction” received by




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Individual Defendant Monahan after August 31, 2016, as well as Monahan’s basis for informing

such parties that CEB “was not seeking offers.”

       67.     The omission of this material information renders the Registration Statement false

and misleading, including, inter alia, the following sections of the Registration Statement: (i)

“Background of the Merger”; (ii) “CEB’s Reasons for the Merger and Recommendation of the

CEB Board of Directors”; and (iii) “Interests of CEB Directors and Executive Officers in the

Merger.”

       68.     The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to CEB’s stockholders.

                                             COUNT I

      Claim for Violation of Section 14(a) of the 1934 Act and Rule 14a-9 Promulgated
                 Thereunder Against the Individual Defendants and CEB

       69.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       70.     The Individual Defendants disseminated the false and misleading Registration

Statement, which contained statements that, in violation of Section 14(a) of the 1934 Act and

Rule 14a-9, in light of the circumstances under which they were made, omitted to state material

facts necessary to make the statements therein not materially false or misleading. CEB is liable

as the issuer of these statements.

       71.     The Registration Statement was prepared, reviewed, and/or disseminated by the

Individual Defendants.     By virtue of their positions within the Company, the Individual

Defendants were aware of this information and their duty to disclose this information in the

Registration Statement.

       72.     The Individual Defendants were at least negligent in filing the Registration

Statement with these materially false and misleading statements.



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       73.     The omissions and false and misleading statements in the Registration Statement

are material in that a reasonable stockholder will consider them important in deciding how to

vote on the Proposed Transaction. In addition, a reasonable investor will view a full and

accurate disclosure as significantly altering the total mix of information made available in the

Registration Statement and in other information reasonably available to stockholders.

       74.     The Registration Statement is an essential link in causing plaintiff and the

Company’s stockholders to approve the Proposed Transaction.

       75.     By reason of the foregoing, defendants violated Section 14(a) of the 1934 Act and

Rule 14a-9 promulgated thereunder.

       76.     Because of the false and misleading statements in the Registration Statement,

plaintiff and the Class are threatened with irreparable harm.

                                            COUNT II

                     Claim for Violation of Section 20(a) of the 1934 Act
                      Against the Individual Defendants and Gartner

       77.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       78.     The Individual Defendants and Gartner acted as controlling persons of CEB

within the meaning of Section 20(a) of the 1934 Act as alleged herein. By virtue of their

positions as officers and/or directors of CEB and participation in and/or awareness of the

Company’s operations and/or intimate knowledge of the false statements contained in the

Registration Statement, they had the power to influence and control and did influence and

control, directly or indirectly, the decision making of the Company, including the content and

dissemination of the various statements that plaintiff contends are false and misleading.

       79.     Each of the Individual Defendants and Gartner was provided with or had

unlimited access to copies of the Registration Statement alleged by plaintiff to be misleading



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prior to and/or shortly after these statements were issued and had the ability to prevent the

issuance of the statements or cause them to be corrected.

       80.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have

had the power to control and influence the particular transactions giving rise to the violations as

alleged herein, and exercised the same. The Registration Statement contains the unanimous

recommendation of the Individual Defendants to approve the Proposed Transaction. They were

thus directly in the making of the Registration Statement.

       81.     Gartner also had direct supervisory control over the composition of the

Registration Statement and the information disclosed therein, as well as the information that was

omitted and/or misrepresented in the Registration Statement.

       82.     By virtue of the foregoing, the Individual Defendants and Gartner violated

Section 20(a) of the 1934 Act.

       83.     As set forth above, the Individual Defendants and Gartner had the ability to

exercise control over and did control a person or persons who have each violated Section 14(a)

of the 1934 Act and Rule 14a-9, by their acts and omissions as alleged herein. By virtue of their

positions as controlling persons, these defendants are liable pursuant to Section 20(a) of the 1934

Act.   As a direct and proximate result of defendants’ conduct, plaintiff and the Class are

threatened with irreparable harm.

                                    PRAYER FOR RELIEF

       WHEREFORE, plaintiff prays for judgment and relief as follows:

       A.      Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;




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       B.      In the event defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages;

       C.      Directing the Individual Defendants to disseminate a Registration Statement that

does not contain any untrue statements of material fact and that states all material facts required

in it or necessary to make the statements contained therein not misleading;

       D.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the 1934 Act, as

well as Rule 14a-9 promulgated thereunder;

       E.      Awarding plaintiff the costs of this action, including reasonable allowance for

plaintiff’s attorneys’ and experts’ fees; and

       F.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff respectfully requests a trial by jury on all issues so triable.

Dated: February 24, 2017                             Respectfully submitted,

                                                       MEYERGOERGEN PC

                                                       /s/ Scott A. Simmons
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